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       EXHIBIT G
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                            Deposition of
                          Vipin Shah, M.D.


                           Date: October 29, 2020

     Case: Brian Buchanan v. Mohammed Siddique and Vipin Shah

                            No. 3:19-CV-199-MAB


            Court Reporter: Ann Marie Hollo, CSR, RDR, CRR


                           Paszkiewicz Court Reporting
                               Phone: 618-307-9320
                              Toll-Free: 855-595-3577
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                                                                      Page 1
             IN THE UNITED STATES DISTRICT COURT

             FOR THE SOUTHERN DISTRICT OF ILLINOIS



      BRIAN BUCHANAN,                          )

                                               )

                        Plaintiff,             )

                                               )

                       vs.                     ) Case No. 3:19-CV-199-MAB

                                               )

      MOHAMMED SIDDIQUE and VIPIN SHAH,        )

                                               )

                        Defendants.            )




                DEPOSITION OF VIPIN SHAH, M.D.

               TAKEN ON BEHALF OF THE PLAINTIFF

                        OCTOBER 29, 2020




                Ann Marie Hollo, CSR, RDR, CRR
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                               October 29, 2020

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 1          QUESTIONS BY:                                         PAGE
 2    MR. HATCHER                                                     5
 3
 4
 5
 6                          INDEX OF EXHIBITS
 7
      EXHIBIT                                                     PAGE
 8
 9    Exhibit 19                                                     17
10    Exhibit 20                                                     43
11
12          (The original exhibits were retained by the
13    court reporter to be attached to the original and
14    copy of the transcript.)
15
16
17
18
19
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21
22
23
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25


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                                                                      Page 3
 1            IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF ILLINOIS
 2
        BRIAN BUCHANAN,                         )
 3                                              )
                          Plaintiff,            )
 4                                              )
                          vs.                   ) Case No. 3:19-CV-199-MAB
 5                                              )
        MOHAMMED SIDDIQUE and VIPIN SHAH,       )
 6                                              )
                          Defendants.           )
 7

 8

 9                      DEPOSITION OF VIPIN SHAH, M.D.,

10    produced, sworn, and examined on OCTOBER 29, 2020,

11    between the hours of 1:00 o'clock in the afternoon

12    and fifty minutes after one o'clock in the afternoon

13    of that day, at Vandalia Correctional Center, Route

14    51 North, Vandalia, Illinois 62471, before Ann Marie

15    Hollo, CSR, RDR, CRR, in a certain cause now pending

16    IN THE UNITED STATES DISTRICT COURT FOR THE SOUTHERN

17    DISTRICT OF ILLINOIS, wherein BRIAN BUCHANAN is the

18    Plaintiff, and MOHAMMED SIDDIQUE and VIPIN SHAH are

19    the Defendants.

20

21

22

23

24

25


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                                                                      Page 4
 1                        A P P E A R A N C E S
 2                             For the Plaintiff:
 3                             Mr. Ryan M. Hatcher
                               FOLEY & MANSFIELD, P.L.L.P.
 4                             101 South Hanley Road
                               Suite 600
 5                             St. Louis, Missouri 63105
                               (314) 925-5700
 6                             rhatcher@foleymansfield.com
 7
 8
                               For the Defendants:
 9
                               Ms. Katherine A. Melzer
10                             SANDBERG, PHOENIX & VON GONTARD, P.C.
                               600 Washington Avenue
11                             15th Floor
                               St. Louis, Missouri 63101-1313
12                             (314) 231-3332
                               kmelzer@sandbergphoenix.com
13
14
15
16    The Court Reporter:
17    Ann Marie Hollo, CSR, RDR, CRR
      Illinois CSR No. 084-003476
18    Paszkiewicz Court Reporting
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19    Glen Carbon, Illinois 62034
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                                                                      Page 5
 1          IT IS HEREBY STIPULATED AND AGREED, by and
 2    between counsel for Plaintiff and counsel for
 3    Defendants that the deposition may be taken in
 4    shorthand by Ann Marie Hollo, RDR/CRR, a Certified
 5    Shorthand Reporter, and afterwards transcribed into
 6    typewriting; and the signature of the witness is
 7    expressly waived.
 8                                * * * * *
 9                          VIPIN SHAH, M.D.,
10    of lawful age, being produced, sworn, and examined
11    on behalf of the Plaintiff, deposes and says:
12    (Starting time of the deposition is:             1:00 p.m.)
13                         DIRECT EXAMINATION
14    BY MR. HATCHER
15          Q.     Good afternoon, sir.
16          A.     Good afternoon.
17          Q.     My name is Ryan Hatcher.        I'm going to be
18    taking your deposition today.
19                 I am wearing a mask, and I am some
20    distance away from you.        Can you hear me okay?
21          A.     Yes.
22          Q.     And you are speaking up loudly and
23    clearly, and I appreciate that.
24                 It probably is helpful if you face the
25    court reporter, if you want, while I ask the


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 1    questions.
 2          A.     Yes, sir.
 3          Q.     Can you state your full name, please.
 4          A.     Dr. Vipin K. Shah.
 5                       MR. HATCHER:     Do you need the middle
 6    name?
 7                       THE REPORTER:      Yes.
 8                       THE DEPONENT:      Like Kansas City,
 9    Vipin K. Shah.
10    BY MR. HATCHER
11          Q.     And, Doctor, can you tell me a little bit
12    about your educational background?
13          A.     I did medical school in India.          I
14    graduated in '71.       I entered medical school in '66.
15    I did one year working in an internship in India and
16    then did some practice before I came.
17                 I came to the states in December of '73.
18    I did a one-year internship at St. Mary's Hospital
19    in Chicago and two years residency at Presbyterian
20    St. Luke, and then I started working as a hospital
21    physician to start with, like a hospitalist, and
22    then joined the group in an industrial
23    practice -- a physician, and then had my private
24    practice between '78 and '88.          '88, I joined the
25    State of Illinois mental health as a physician


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 1    position in Alton, Illinois, and I was there
 2    from '88 to about 2001.        And I started working in
 3    corrections at that time, off and on, in 2002,
 4    because the state decided they wanted me
 5    to -- retirement.       I took the early retirement and
 6    went to work at corrections PRN.
 7            Q.     Okay.   Doctor, thank you.     That was more
 8    of an education and career background.            I appreciate
 9    that.
10                   I just have a couple of -- I'd like to ask
11    you individually, just briefly, about what you just
12    told me.
13                   Where did you complete medical school in
14    India?
15            A.     It's called "Baroda Medical College."
16          Q.       Thank you.
17                   And you mentioned you went somewhere in
18    1966.    I missed that.      Where did you move in 1966?
19            A.     I entered medical school.
20                        MS. MELZER:    That was when he started
21    medical school.
22                        MR. HATCHER:    Entered medical school?
23    Okay.    Thank you very much.
24    BY MR. HATCHER
25          Q.       You finished medical school in 1971?


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 1           A.     Right.
 2           Q.     Thank you.
 3                  And you came to the U.S. in 1973?
 4           A.     Yes, sir.
 5           Q.     And you did a one-year internship?
 6           A.     I came in '73, so I did a one-year
 7    internship in '74.
 8           Q.     Okay.
 9           A.     And then a two-year residency '75, '76.
10           Q.     And what type of residency did you
11    undergo?      Just a general rotational or something
12    else?
13           A.     General, mostly pathology.
14           Q.     Pathology?
15           A.     Yes.
16           Q.     Okay.    And you said you worked as a
17    hospitalist.      Where did you work as a hospitalist?
18           A.     There was a small hospital in Chicago
19    after '76.      It's called -- it's called "Louis Weiss
20    Medical Hospital."        L-O-U-I-T (sic), W-E-I-T (sic).
21    It's not there anymore.         That was in Chinatown in
22    '76.    I worked up to '78.
23                  And then I took a three-month vacation and
24    went to India, went to India, and then came back and
25    joined a group called "Industry Physician Clinic" in


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 1    Elwood (phonetic), and I worked there up
 2    until '85 --
 3           Q.     Okay.
 4           A.     -- or '84, and then I started a private
 5    practice on the west side of Chicago up to '88.
 6           Q.     Okay.    When you were a hospitalist, am I
 7    correct you were working, or you were an employee of
 8    a hospital seeing inpatients who do not have their
 9    own personal physician; is that correct?
10           A.     I worked as a hospital employee, yes.
11           Q.     And you said you joined an industrial
12    practice.      Were you seeing people with work injuries
13    or doing physicals for employers or something
14    different?
15           A.     Everything.    Primary practice combined
16    with industry and work-related physicals, all that.
17           Q.     Okay.    And were you the owner of the
18    private practice or a member of the private practice
19    between '78 and '88?
20           A.     No.     I was a part of the group that I
21    joined for industry practice.          Then I started my own
22    private practice for a couple of years, like, '82 to
23    '87, '88.
24           Q.     And what specifically were you doing for
25    the State of Illinois in Alton between 1988 and


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 1    2001?
 2           A.     I started as a family practice physician.
 3    We had a group of about 200, 250 patients there, and
 4    we -- four doctors took care of their medical needs,
 5    and there were psychiatrists who took care of the
 6    psych needs.
 7           Q.     Okay.    Do you currently hold any board
 8    certifications?
 9           A.     Board?
10           Q.     Board.   Do you currently hold any boards?
11           A.     No.
12           Q.     Since you've been in the U.S. beginning in
13    1973, have you ever held any board certifications?
14           A.     No.   When I entered in '78, there was no
15    need of board at that time, so . . .
16           Q.     And you're licensed in the State of
17    Illinois?
18           A.     I'm sorry?
19           Q.     Are you licensed -- do you hold any
20    licenses from the State of Illinois?
21           A.     Yes, sir.
22           Q.     Has your license ever been -- your license
23    to practice medicine ever been suspended or revoked?
24           A.     No, never.
25           Q.     Have you been with the department of


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 1    corrections since around 2001, 2002?            Did I hear
 2    that correctly?
 3           A.     Well, I've worked since '82 off and on.
 4           Q.     Okay.
 5           A.     But '94 I worked -- from 2001 I worked
 6    more constant.
 7           Q.     Okay.   And are you an employee of the
 8    department of corrections or Wexford Health
 9    Services?
10           A.     Wexford Health.
11           Q.     When did you become an employee of Wexford
12    Health Services?
13           A.     In 1994, I worked for Wexford.         2001, I
14    worked PRN.
15           Q.     Okay.
16           A.     I became -- in 2002 when I left the state,
17    I became a Wexford employee.
18           Q.     Okay.   When you were at Menard -- or when
19    did you -- let me start over.
20                  At one time, you were working for Wexford
21    seeing patients at Menard?          Is that true?
22           A.     Yes.
23           Q.     When did you arrive at Menard as a Wexford
24    employee?
25           A.     I don't recollect.      When did I start?


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 1           Q.     Yes.    When did you start?
 2           A.     I don't know.     Because I worked at Menard
 3    since 1982.
 4           Q.     Okay.
 5           A.     It was CMS, a different company, and I
 6    used to work at that time for them.
 7           Q.     When did you -- at some point in time was
 8    your work primarily based at Menard?
 9           A.     I worked Menard on a PRN basis.         Not full
10    time, not as a medical director.
11           Q.     Okay.
12           A.     I worked like a helping physician.
13           Q.     Okay.   In 2017, were you working at Menard
14    on a PRN basis?
15           A.     Yes, sir.
16           Q.     Who was your -- did you have any other
17    employment in 2017 when you were working at Menard
18    on a PRN basis?
19           A.     I was working full time at Robinson
20    Correctional Center for Wexford at that time.
21           Q.     Okay.   Approximately how many
22    days -- however you want to break it down -- per
23    week or month did you spend at Menard in 2017?
24           A.     Usually one day or sometimes one and a
25    half day.


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 1           Q.     Is that per week or per month?
 2           A.     Per week.
 3           Q.     And in January and February of 2018,
 4    approximately how many days per week did you spend
 5    at Menard?
 6           A.     I don't recollect at this time in '17.
 7    Probably one and a half.
 8           Q.     When you were seeing patients at the
 9    Menard on a PRN basis in late 2017, early 2018, did
10    Dr. Siddique -- or did you report to Dr. Siddique?
11           A.     I did not report to anybody.
12           Q.     Did Dr. -- in 2017 and 2018 when you were
13    seeing patients on a PRN basis at Menard, did
14    Dr. Siddique have any supervisory role over you?
15           A.     No.
16           Q.     As far as you know, if you do know,
17    did -- when Dr. Siddique was the medical director at
18    Menard, did he have any supervisory role over nurse
19    practitioners at Menard?
20                        MS. MELZER:     Objection.     Calls the
21    witness to speculate.
22                        You can answer if you know.
23                        THE DEPONENT:     I don't have any idea.
24    I didn't work as the medical director, so I don't
25    know what they do.


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 1    BY MR. HATCHER
 2           Q.     Were you the medical director at Robinson?
 3           A.     Yes, sir.
 4           Q.     While you were medical director at
 5    Robinson, do you have -- did you have any
 6    supervisory roles over the nurse practitioners?
 7           A.     No.     We don't do any -- we don't have any
 8    nurse practitioners at Robinson.
 9           Q.     When you were medical director at
10    Robinson, did you have any supervisory roles over
11    the nurses?
12           A.     Indirectly the nurses report to DON and
13    then the DON reports to us.
14           Q.     Okay.    So the DON is the director of
15    nursing?
16           A.     Yes.
17           Q.     When you say, "The DON at Robinson reports
18    to us," that means you as medical director?
19           A.     Yeah.    When we have a meeting every month,
20    and any nursing issue that comes there in the
21    meeting with the DON, administrator, doctor, warden,
22    the regional managers.
23           Q.     Did I hear you correctly that once a month
24    you have a meeting with the regional managers?
25           A.     And the whole quality control, risk


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 1    manager and warden and state person and the DON,
 2    administrator, mental health person, all that.
 3           Q.     Were those monthly meetings just for
 4    Robinson or for a larger area, a geographical area?
 5           A.     No.    The meeting was for Robinson.
 6           Q.     Okay.
 7           A.     Every place has their own meeting, I
 8    think.
 9           Q.     And would the regional manager show up for
10    that meeting?
11           A.     Yes.    The regional manager of nursing,
12    state, and the regional manager of Wexford.
13           Q.     And I appreciate that answer, but our
14    court reporter needs to make sure that she can take
15    down my answer -- excuse me -- my question and your
16    answer, so if I could, I'll ask it again.
17                  For the monthly meetings at Robinson, the
18    regional manager would show up in person for the
19    meetings?
20           A.     Yes.
21           Q.     And who was the regional manager, if you
22    recall, in 2017, 2018?
23           A.     At Robinson?
24           Q.     Sure, at Robinson.
25           A.     I think Ms. Johnson.


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 1           Q.     Do you know Ms. Johnson's first name?
 2           A.     Yolanda Johnson.
 3           Q.     Is Ms. Johnson, is she an employee of
 4    Wexford, or is she an employee of the department of
 5    corrections?
 6           A.     She's an employee of Wexford.
 7           Q.     Okay.   And when you say she's the regional
 8    manager, is she the manager only over Robinson or a
 9    larger area including Menard?
10                        MS. MELZER:     I'm going to object to
11    relevancy.      Calls for him to speculate.
12                        You can answer if you know.
13                        THE DEPONENT:     I think she had more
14    than one place.       I don't know which one.
15    BY MR. HATCHER
16           Q.     Did you ever between -- in 2017 or 2018,
17    did you ever attend a monthly quality control
18    meeting at Menard?
19           A.     No.
20           Q.     Okay.   If the -- well, okay.        We'll move
21    on.
22                  Do you recall ever seeing Brian Buchanan
23    as a patient?
24           A.     I don't recollect it, no.
25           Q.     Okay.   But you did see patients when you


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 1    went to Menard, you know, one day per week or one
 2    and a half days per week in 2017 and 2018?              You did
 3    see inmates as patients, correct?
 4           A.     Yes.
 5                  (Exhibit 19 was marked for
 6    identification.)
 7                         MR. HATCHER:    Okay.    I'll hand you,
 8    if I may -- Katherine, here's a copy for you.              And
 9    I'll represent to you, Katherine, the highlighted
10    portion, those are not my highlights.            That's how it
11    came.    Those are not my highlights.
12                         MS. MELZER:    Yes.    Are you talking
13    about page -- the highlights on the first page?
14                         MR. HATCHER:    Yes.    On Menard 42 and
15    any other highlighted pages.
16                         MS. MELZER:    And this is 19?
17                         MR. HATCHER:    19.
18                         MS. MELZER:    Thank you.
19    BY MR. HATCHER
20           Q.     Doctor, I've handed you what we've marked
21    as Exhibit 19, and at the top, it reads, "HCU
22    Movement Chart."
23                  Do you see that?
24           A.     Yes.
25           Q.     Do you know the purpose of the HCU


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 1    movement chart?
 2           A.     No.
 3           Q.     Have you ever seen an HCU movement chart
 4    prior to today?
 5           A.     No.
 6           Q.     When you were at Menard, you never saw an
 7    HCU movement chart?
 8           A.     No.
 9           Q.     Do you know one way or the other if
10    Exhibit 19, the HCU movement chart, is similar to
11    the schedule used by Wexford or the department of
12    corrections at Menard?
13                        MS. MELZER:     Object to the form of
14    the question.       Vague and calls the witness to
15    speculate.
16                        But you can answer if you know.
17                        THE DEPONENT:     I don't recollect.       I
18    think when I read the line -- there was a paper like
19    that we signed, that we saw these people, you know,
20    but I don't know whether it was called "the movement
21    chart."
22    BY MR. HATCHER
23           Q.     Okay.   And so whether or not you recall
24    seeing Exhibit 19 or not, when you were seeing
25    patients at Menard, you recall seeing a piece of


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 1    paper that had names on it that you would sign?               Is
 2    that a true statement?
 3           A.     Yes.    It would say the name and why we
 4    were seeing them and the person who had seen them.
 5           Q.     Okay.   And if we turn to -- okay.
 6                  Let me ask you this.       Whenever you were
 7    seeing patients at Menard, was it the patient's
 8    responsibility to bring records to the visit, or did
 9    Wexford employees bring the records and charts for
10    the patient?
11           A.     I do not understand the question.
12           Q.     Sure.
13                  When you saw inmates as patients at
14    Menard, was it the responsibility of the inmate to
15    bring their medical record chart to the visit with
16    you, or was it somebody else's responsibility to
17    bring the chart?
18           A.     I have no idea.
19           Q.     Did you ever physically bring charts to
20    inmate patient visits at Menard?
21           A.     No.
22           Q.     Did you have inmate patient charts when
23    you were treating or otherwise having a patient
24    encounter with an inmate at Menard?
25           A.     Whenever I saw the patient or reviewed the


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 1    patient chart, it was -- the charts were already --
 2            Q.     Okay.
 3            A.     I don't know who did -- or that's a
 4    different department.         I don't interfere with that.
 5            Q.     Okay.    But when you were having, we'll
 6    call it a "patient encounter" with a patient at
 7    Menard, one way or the other, the chart was present
 8    while you were having a visit, true?
 9            A.     Right.
10           Q.      You don't know how that chart got in the
11    room?    You just know it was there, true?
12            A.     Well, I knew that the medical director's
13    department would bring that.          I don't know who in
14    the medical department or when they brought it, but
15    when I was there, there was a chart.
16           Q.      Okay.    Would you agree or disagree, based
17    on your answer, that it was not the inmate's
18    responsibility to bring the chart?
19            A.     It was not the inmate's responsibility.
20           Q.      Thank you.
21                   If we turn to Page 4 of Exhibit 19, which
22    is Menard 00145, let me know when you're there.
23            A.     Yes.
24           Q.      At the top next to "Practitioner," it
25    reads "Siddique."         Do you see that?


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 1           A.     Yes.
 2           Q.     The one name that is not blocked out, it
 3    reads "Buchanan, Brian."         Do you see that?
 4           A.     Yes.
 5           Q.     The next under "Number" is B40627.          Do you
 6    see that?
 7           A.     B40627?   Yes.
 8           Q.     And under "Problem," here's what I read,
 9    and you can correct me if I'm wrong.
10                  It reads, "nsc," and I read that as nurse
11    sick call; is that correct?
12           A.     Yes.
13           Q.     "12/6 request to renew prescription,
14    gabapentin, tramadol."
15                  Did I read that correctly?
16           A.     Yes.
17           Q.     And the box next to it, right under that,
18    in the same box it reads, "No chart," correct?
19           A.     Right.
20           Q.     And under "Orders," it reads, "No chart."
21                  Do you see that?
22           A.     Yes.
23           Q.     Based on what you can see there on
24    Exhibit -- the fourth page of Exhibit 19, Menard
25    00145, would you agree or disagree that Mr. Buchanan


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 1    was on Dr. Siddique's schedule on December 12, 2017?
 2                       MS. MELZER:      I'm going to object to
 3    the form of the question.         Lacks foundation, assumes
 4    facts not in evidence.         This -- the foundation, you
 5    haven't established that that is his note, and
 6    you're asking him to speculate about this document
 7    that he's just seeing for the first time today.
 8                       Subject to that, you may answer.
 9                       THE DEPONENT:      I guess that's what he
10    says, you know.
11    BY MR. HATCHER
12           Q.     All right.    Thank you, Doctor.
13                  And by looking at Page 4 of Exhibit 19,
14    can you tell one way or the other if Dr. Siddique
15    actually had a patient encounter with Brian
16    Buchanan?
17                       MS. MELZER:      Object to the form of
18    the question.      Calls the witness to speculate, lacks
19    foundation.
20                       THE DEPONENT:      It's just -- I said
21    before.      I guess he was not able to see him because
22    there was no chart.
23    BY MR. HATCHER
24           Q.     Thank you, Doctor.
25                  If we turn to the first page of


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 1    Exhibit 19 -- let me ask you this.
 2                  You worked in the -- before you look at
 3    the first page, you've worked -- and you gave me a
 4    bunch of years, and I apologize.           I'm not trying to
 5    be a wise guy.
 6                  Can you tell me the first year you began
 7    seeing patients in the Illinois Department of
 8    Corrections?
 9           A.     '82.    1982.
10           Q.     1982?   Okay.    So it was 38 years ago?
11           A.     Yes.
12           Q.     Okay.   At some point in 38 years in the
13    Illinois Department of Corrections seeing patients,
14    have you become familiar with the term "kite"?
15           A.     Kite?
16           Q.     Kite.
17           A.     No.
18           Q.     Okay.   If you look at the first page,
19    Exhibit 19, which is Menard 142, next to
20    "Practitioner," we see "Zimmer."           Do you see that?
21           A.     Yes.
22           Q.     Did you know any practitioner or nurse
23    practitioner named "Zimmer" at Menard?
24           A.     I've seen that, yes.
25           Q.     So you know who that is?


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 1           A.     Yes.
 2           Q.     Okay.    And if we look under "Name," we see
 3    "Buchanan, Brian" listed one, two, three, four, five
 4    times.      Do you see that?
 5           A.     Yes.
 6           Q.     And under "Number," five times, we see
 7    B40627 entered five times, correct?
 8           A.     I'm sorry.    What was the question?
 9           Q.     Under "Number," we see the same number
10    B40627 entered one, two, three, four, five times?
11           A.     Right.
12           Q.     So Mr. Buchanan is listed on the HCU
13    movement chart -- he has five entries on the first
14    page of Exhibit 19; is that correct?
15           A.     Right.
16           Q.     And that's dated 12/21/2017?
17           A.     Yes.
18           Q.     Are you familiar with the process of nurse
19    sick call?
20           A.     I don't know what you mean by that.          I
21    know the nurses see -- and that's called "nursing
22    protocol."
23           Q.     I'm sorry.    I missed that answer.
24           A.     That's called "nursing sick call," and
25    they just use the standard paper, and that's called


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 1    "nursing protocol."
 2           Q.     Okay.    And what's the process -- what's
 3    the standard protocol for the nurse sick call?
 4                          MS. MELZER:    I'm going to object to
 5    the form of the question to the extent that he's not
 6    a nurse.
 7                          But subject to that, you may answer.
 8                          MR. HATCHER:    And, Katherine, I don't
 9    mean to argue objections.           I think you've made an
10    objection.      I think I heard Dr. Shah say there's a
11    standard protocol for nurse sick call, and I just
12    misheard that.        Is that what you heard?
13                       MS. MELZER:       Yeah, I heard that, and
14    my objection is he isn't a nurse.
15                       But subject to that, you can answer.
16                       MR. HATCHER:      Fair enough.     I just
17    wanted to make sure I didn't mishear you.
18    BY MR. HATCHER
19           Q.     Subject to the objection, Doctor, are you
20    aware of the standard protocol or standard protocol
21    for nurse sick call?
22           A.     I am, yeah.    I am.     What do you call it?
23    I am knowledgeable about the nurse protocol, yes.
24           Q.     Okay.    And as part of the nurse protocol,
25    you can either hand the nurse a slip or place a slip


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 1    of paper in a box in order to be seen by either a
 2    physician or a nurse practitioner at Menard?
 3           A.     I have no idea.
 4           Q.     Okay.    The fact that -- and maybe you know
 5    or you don't know, but the fact that Brian Buchanan
 6    is listed on the same HCU movement chart five times,
 7    does that indicate to you that he may have passed
 8    more than one slip to a nurse asking to be seen?
 9           A.     No.
10                         MS. MELZER:    Objection.     Calls the
11    witness to speculate.
12    BY MR. HATCHER
13           Q.     And why do you not believe that?
14           A.     That doesn't mean that, because there's
15    five things.        That's what he was supposed to be
16    reviewed on that day -- five things.
17           Q.     And if we go through the five things,
18    right?      And I'm on the -- there's a redacted name,
19    and the very first "Buchanan," there's a "Chart," a
20    question mark.        Do you see that box?
21           A.     I don't know what you're talking about.
22    The first line?
23                         MS. MELZER:    Yes.
24    BY MR. HATCHER
25           Q.     Yes.


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 1           A.     The first line says?
 2           Q.     It reads, "nsc 12/6," or nurse sick call
 3    12/6, "request to renew prescription, gabapentin,
 4    tramadol."
 5           A.     Right.
 6           Q.     Okay.    And the next entry right under
 7    that, the next problem reads, "two-year PE DEC."
 8                  Do you know what that means?
 9           A.     Yeah, that he was due for a physical exam
10    that they give every two years in December.
11           Q.     Okay.    And the very next problem box
12    reads, "JR, renew gabapentin."
13                  Do you see that?
14           A.     Yes.
15           Q.     Do you know what JR means?
16           A.     Jacket review.
17           Q.     And the next entry reads, "nsc 12/6,
18    request to renew prescription gabapentin, tramadol."
19                  Do you see that?
20           A.     Right.
21           Q.     Underneath that, which is a "JR, renewal
22    gabapentin."
23                  And then we have a circle, and it reads
24    "Renewed, 12/20, Dr. Shah."
25                  Do you see that?


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 1           A.     Yes.
 2           Q.     Did you write that entry, or did somebody
 3    else write that entry?
 4           A.     No.    Somebody else.
 5           Q.     Do you know who did?
 6           A.     No.
 7           Q.     In the orders column, my colleague sent me
 8    a response with part of the orders column chopped
 9    off.    Can you read -- are you able to make out a
10    portion of the orders column?
11           A.     No, I cannot.
12           Q.     Okay.
13                         MS. MELZER:    And for the record, I'll
14    state that that was exactly how it was produced to
15    us pursuant to the subpoena.
16                         MR. HATCHER:    I am not holding you
17    responsible.        I understand you -- you subpoenaed the
18    documents.
19                         THE REPORTER:    Can I just ask -- I
20    didn't understand what the JR was.
21                         MR. HATCHER:    Jacket review.
22    BY MR. HATCHER
23           Q.     Doctor, I'm going to hand you what we
24    previously marked in a separate earlier deposition
25    as Exhibit 1.


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 1                          MR. HATCHER:   And, Katherine, I'll
 2    represent to you that's a copy of the original.
 3    BY MR. HATCHER
 4           Q.     Doctor, I've handed you or you've been
 5    handed Plaintiff's Exhibit 11, and that is Western
 6    Illinois 487 Bates labeled, and there's an entry --
 7           A.     I don't know what you're talking about.
 8                          MS. MELZER:    Bates label down at the
 9    bottom.      He was just reading "Western Illinois."
10                         THE DEPONENT:    Oh, okay.
11    BY MR. HATCHER
12           Q.     I apologize for that, Dr. Shah.         I should
13    have been more clear.
14           A.     It should not be -- that's why I was
15    surprised because that is a different correction.
16           Q.     I understood.
17                  So looking at Exhibit 11, do you recognize
18    the handwriting from the day 12/20 -- that looks
19    like 17 -- do you recognize that handwriting?
20           A.     Yes, sir.
21           Q.     Is that your handwriting?
22           A.     Yes.
23           Q.     Okay.    What's the first -- and I see an
24    "MDNOR."      What does that mean?
25           A.     M.D. N-O-T-E.     M.D. note.


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 1           Q.     M.D. note?    Okay.
 2                  You're the M.D. writing that note?
 3           A.     Right.
 4           Q.     Okay.    And the next line reads, "Chart,
 5    jacket review."        Is that what that says?
 6           A.     Right.
 7           Q.     When you conducted your jacket
 8    review -- let me start over.
 9                  You conducted the jacket review on
10    12/20/2017, true?
11           A.     Right.
12           Q.     When you conducted the jacket review on
13    12/20/2017, did you see any indication of a prior
14    jacket review having been conducted on 12/6, 12/7,
15    or 12/8, 2017 by Dr. Siddique?
16           A.     No.
17           Q.     When you conducted your jacket review on
18    12/20/2017, did you see any indication of a prior
19    jacket review on 12/6, 12/7, or 12/8/2017 that was
20    conducted by Nurse Holly Hawkins?
21           A.     No.
22           Q.     When you conducted your jacket review on
23    12/20/2017, did you see any indication of a prior
24    jacket review having been conducted on 12/12/2017?
25           A.     No.


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 1           Q.     Doctor, can you read to me what is written
 2    right under "Chart, jacket review"?
 3           A.     Number 1, it says, "Wants to continue
 4    Neurontin with a non-formulary."
 5           Q.     That reads "wants to"?       Is that what you
 6    said?
 7           A.     Wants to continue -- CT -- Neurontin with
 8    the non-formulary.
 9           Q.     Who wanted that?      You or the patient?
10           A.     I got the note that says the patient
11    wants.
12           Q.     Okay.   And he said "non-formulary"?
13           A.     The note says "non-formulary."
14           Q.     Okay, but the patient didn't ask for
15    non-formulary, correct?
16           A.     The note I got like this, that you got
17    there, no med (phonetic) -- it didn't say no med,
18    but I get a note that said jacket review.
19           Q.     Okay.
20           A.     And the jacket review says the patient
21    name, number, and what is the jacket review.              It
22    says, "Continue Neurontin with non-formulary."
23           Q.     And you pointed out Exhibit 19 is
24    something you would have received.            Do you recall if
25    you would have received specifically what's been


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 1    marked as 19 or a different exhibit or a different
 2    note?
 3           A.     I don't know if it was taken from that or
 4    not.    I got the note saying he needs -- or wants to
 5    continue Neurontin with non-formulary.
 6           Q.     Okay.    Do you know who wrote that note?
 7           A.     No.     It's a typed note usually from
 8    medical records.
 9           Q.     Okay.    And what is the -- under NF, the
10    non-formulary, what's the next entry?            What does
11    that read?
12           A.     It was also the note questioning the
13    medical order because he was -- he had a medical
14    hold because the processes or something, outside
15    consult, and he wanted to look to me, that he wants
16    to get out of that hold so he can move to a
17    different institution.
18           Q.     Okay.
19           A.     So the doctor has to review the note,
20    saying if he has any follow-ups so they cannot go
21    then.
22           Q.     Okay.    Let me make sure I understand what
23    you just said or what you're telling me.
24                  So a medical hold means you can't leave
25    the facility, meaning Menard?          So an M.D. has to


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 1    review the note in order to clear the patient to
 2    move to a separate DOC facility?
 3           A.     If he wants to.
 4           Q.     Okay.
 5           A.     Because he might have certain appointments
 6    that he might not know, scheduled.
 7           Q.     Got it.
 8                  And under the note where it's "Review for
 9    medical hold," what's the -- what's the next line
10    read?
11           A.     No follow-up suggestion on last orthopedic
12    visit on 11/3.
13           Q.     And if we move over into the plan -- is
14    this a SOAP note or is this something different?
15           A.     It's not really a SOAP note.         It's a chart
16    review.
17           Q.     Okay.
18           A.     SOAP note we do when we see the patient.
19           Q.     Okay.   And I see under plan -- now the
20    note that you've discussed the medical hold, does
21    that read, "Discontinue medical hold"?
22           A.     Yes.
23           Q.     And underneath the "Discontinue medical
24    hold," what did you write in there right above your
25    name?


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 1           A.     Continue Neurontin 300 and 600 for 12
 2    months.
 3           Q.     Okay.   And did you review -- did you
 4    review Mr. Buchanan's jacket for renewal of tramadol
 5    or Ultram?
 6           A.     No.
 7           Q.     And why not?
 8           A.     Because I was requested to renew
 9    Neurontin.      That was the only thing I was renewing.
10    And at that time, I felt that probably somebody
11    renewed it, but forgot to write "non-formulary
12    form."      So he was not getting it.       That's my
13    understanding.
14           Q.     Okay.   When you say "he was not getting
15    it," are you talking of tramadol or the gabapentin?
16           A.     I'm talking about the gabapentin.
17           Q.     Okay.   So it's your understanding that at
18    least on December 20th of 2017 when you reviewed the
19    note, that Mr. Buchanan was not receiving either
20    gabapentin or Neurontin, true?
21           A.     Probably.
22           Q.     Did I hear "probably"?
23           A.     Yes.
24           Q.     Okay.
25           A.     Or it was about to expire.


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 1           Q.     Okay.    And I'm just going to
 2    briefly -- well, I'll hand you Exhibit 2 or a copy
 3    of Exhibit 2 that we previously marked at another
 4    deposition, and I'm going to ask you some questions
 5    about what you may have reviewed.
 6                  Doctor, it's been marked as Plaintiff's
 7    Exhibit Number 2.
 8                         MR. HATCHER:    And just for the
 9    record, Katherine, this is Western Illinois 154.
10    BY MR. HATCHER
11           Q.     So, Doctor, back to Exhibit 2.         Do you see
12    the prescription order dated 9/11/2017?
13           A.     Yes.
14           Q.     And that's tramadol?
15           A.     Yes.
16           Q.     And that was for back pain, correct?
17           A.     It could be for any -- yeah, he needed it
18    for back pain.
19           Q.     And based on the fact that this is an
20    order for 9/11/2017, and your jacket review was on
21    December 20th of 2017, do you have -- do you
22    believe that this prescription order would have been
23    in his jacket when you reviewed it?
24                         MS. MELZER:    Object to the form of
25    the question.        It calls the witness to speculate.


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 1                        But you may answer if you know.
 2                        THE DEPONENT:     Just looking at the
 3    top of that order, it's an order on 10/12, the same
 4    order.      It was done for three months.        So he was
 5    getting it until -- the order was good until January
 6    of 2018.
 7    BY MR. HATCHER
 8           Q.     Okay.   So based on what you're telling me,
 9    if you look at Plaintiff's Exhibit 2, and the
10    prescription order from 10/12/2017 for tramadol,
11    Mr. Buchanan should have been receiving tramadol for
12    three months or until -- did you say February of
13    2017?
14           A.     January, sir.
15           Q.     January of 2017?
16           A.     No.   January of 2018.
17           Q.     January of 2018.      Thank you, Doctor.
18                  I think you just short-circuited a few
19    exhibits and a few of my questions.            Thank you.
20           A.     No problem.
21           Q.     Well, one more question about Exhibit 2.
22                  Do you have any reason to believe, based
23    on your jacket review, that Mr. Buchanan -- let me
24    start over.
25                  Do you have any reason to believe, based


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 1    on your jacket review, that the tramadol order for
 2    three months on 10/12/2017 was not a reasonable and
 3    necessary treatment for Mr. Buchanan's back pain?
 4           A.     I could not -- either way.        I didn't see
 5    the patient.        I was just reviewing the chart.        The
 6    doctor probably, when he examined, he -- I can just
 7    guess, and continued the medicine, you know.
 8           Q.     I'm sorry.    You don't have an opinion?
 9           A.     I'm sorry?
10           Q.     You said your first -- the very first part
11    of your answer was you do not have an opinion either
12    way?
13           A.     Right.    I don't have any opinion.
14           Q.     Thank you, Doctor.      We're moving along.
15                  Before we move on to gabapentin, Doctor,
16    do you have any reason to dispute that Mr. Buchanan
17    did not receive his tramadol or Ultram from at least
18    December of -- or December 2, 2017 through
19    January 10, 2018?
20           A.     No.     I have no --
21           Q.     You have no reason to dispute that?
22           A.     No.
23           Q.     Okay.    Doctor, I'm going to hand you
24    what -- hang on -- what we previously marked as
25    Exhibit 9.


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 1                       MR. HATCHER:      And, Katherine, for the
 2    record, this is Western Illinois 485.
 3                       MS. MELZER:      Thank you.
 4    BY MR. HATCHER
 5           Q.     Doctor, you've been handed Exhibit 9.           Can
 6    you see -- well, do you know what type of record
 7    this is?      That's Plaintiff's Exhibit Number 9.
 8           A.     I think it's a nursing protocol.
 9           Q.     And what's a nursing protocol?
10           A.     Nursing protocol is the standard paper
11    that describes the intervention between the patient
12    and the nurse.
13           Q.     So a nursing protocol, in its simplest
14    terms, is a patient encounter between a nurse and
15    the patient, true?
16           A.     Right.
17           Q.     And this patient encounter note is dated
18    December 6, 2017, correct?
19           A.     Right.
20           Q.     And it looks like the patient encounter is
21    related to a recent back fusion, correct?
22           A.     Right.
23           Q.     And that's the cause of pain?         The recent
24    back fusion, true?
25           A.     I'm sorry?


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 1           Q.     The nurse recorded the cause of pain as a
 2    recent back fusion, true?
 3           A.     Yes.
 4           Q.     And Mr. Buchanan gave a pain scale of 7, 8
 5    out of 10, true?
 6           A.     Right.
 7           Q.     And Page 2 reads under "Gait disturbance,"
 8    it's "Yes, notable gait disturbance," true?
 9           A.     I cannot read that completely.
10           Q.     Right there under next to date and time,
11    12 --
12           A.     I see that, yes.      I don't know what that
13    means first.      Is that "yes"?
14           Q.     I'll represent to you that I can read that
15    it says, "Yes-notable gait" -- there's a delta
16    either for change or disturbance.
17                  Do you read that?
18           A.     Yes.
19           Q.     And when you're making notes, and you
20    enter -- have you ever entered the phrase "gait
21    disturbance" in a note?
22           A.     If I saw the gait disturbance, I'd write
23    the note, yes.
24           Q.     Okay.    And when you're writing the phrase
25    "gait disturbance," what does that mean to you when


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 1    you're writing it?
 2           A.     That he's not able to maintain the gait.
 3           Q.     Okay.   If somebody is talking about the
 4    gait -- let me start over.
 5                  When you're talking about gait, are you
 6    talking about the way a person walks?
 7           A.     The way the person walks, stands, runs.
 8           Q.     And when you're making an entry that
 9    reads, "notable gait disturbance," do you consider
10    that an objective finding or subjective complaint?
11           A.     Significant finding, significant.
12           Q.     I'm sorry?
13           A.     Significant finding.
14           Q.     Okay.   And my question was a little
15    different.
16                  Do you consider that to be an objective
17    finding by a physician such as yourself or a
18    subjective complaint by the patient?
19           A.     A mix of both.
20           Q.     Okay.   Doctor, I'll hand you what has been
21    marked as Exhibit 12.
22                       MR. HATCHER:      And, Katherine, I'll
23    represent to you that is Western Illinois 176.
24                       MS. MELZER:      Thank you.
25    / / /


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 1    BY MR. HATCHER
 2           Q.     Doctor, the very top of Plaintiff's
 3    Exhibit 12, there's a prescription order; is that
 4    correct?
 5           A.     Yes.
 6           Q.     And is that a prescription order you wrote
 7    renewing Neurontin on December 20th of 2017?
 8           A.     Yes.
 9           Q.     And you wrote that order because you
10    believed at least at the time Mr. Buchanan was not
11    receiving the Neurontin?
12           A.     No.
13           Q.     Why did you write the prescription?
14           A.     It says "Continue."      That means he was
15    getting it.      His prescription was about to expire,
16    so we need to write a new prescription.
17           Q.     And what are you basing that?
18           A.     It says "Continue."      Usually I add
19    "continue" when the patient is getting the medicine.
20           Q.     Okay.   And do you know, one way or
21    another, if there was a break in the patient getting
22    his Neurontin or gabapentin prior to December 20th
23    of 2017?
24                         MS. MELZER:    Objection.     Calls the
25    witness to speculate.


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 1                          But you can answer.
 2                          THE DEPONENT:   I cannot remember at
 3    this point, but it again appears that when -- I got
 4    the list to continue.
 5    BY MR. HATCHER
 6           Q.     And when you wrote that prescription for
 7    gabapentin on December 20, 2017, did you believe
 8    that to be a reasonable and necessary treatment for
 9    nerve pain?
10           A.     It could be for any pain, sir.         Nerve
11    pain, neuro-lytic pain (phonetic), mild pain, just
12    general pain.
13           Q.     Let me ask you this question.
14                  Do you have a recollection as to what type
15    of pain you were treating when you wrote the
16    prescription following the jacket review on
17    12/20/2017?
18           A.     No.
19           Q.     Okay.    Regardless of the reason you wrote
20    it, you wouldn't have written on 12/20/2017 if you
21    didn't believe it was not -- if you didn't believe
22    it was reasonable and necessary, true?
23           A.     My responsibility on that day was that at
24    somebody's suggestion was it needs to continue.               It
25    was written before, and it was expiring.             I was not


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 1    checking the patient.        I was not doing a routine
 2    patient, whether he needs the medicine or not.
 3           Q.     But based on your review of his records,
 4    you felt it was a reasonable and necessary
 5    treatment, true?        Or otherwise you wouldn't have
 6    written the prescription, true?
 7           A.     Somebody wrote it, that he needs to
 8    continue.
 9           Q.     And you felt comfortable continuing it
10    based on your --
11           A.     Yes.
12           Q.     Okay.   Doctor, I'm going to hand you --
13                         MR. HATCHER:    Am I on 20?     I think
14    I'm on 20.
15                         MS. MELZER:    Yes, you are on 20.
16                         MR. HATCHER:    What we will mark as
17    Exhibit 20.
18                  (Exhibit 20 was marked for
19    identification.)
20    BY MR. HATCHER
21           Q.     Doctor, I'll represent to you that
22    Exhibit 20 is a medication administration record for
23    Brian Buchanan during his time at Menard.             And could
24    I have you turn to Page -- it's Bates labeled at the
25    bottom, Western Illinois 339, and let me know when


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 1    you're there.
 2           A.     Yes, sir.
 3           Q.     If you go down to one, two, three, four,
 4    five boxes, there's an entry for gabapentin.              Do you
 5    see that?
 6           A.     Yes.
 7           Q.     And if you go over on -- over
 8    three-quarters of the page, there's a slash and an
 9    entry reads, "See new order, 12/20/17."
10                  Do you see that?
11           A.     Yes.
12           Q.     And in that same line between the box
13    where it says gabapentin and the order for the entry
14    that reads, "See new order," do you see all those
15    boxes with initials?
16           A.     Yes.
17           Q.     And next to all the initials, do you see
18    all of the entries that read "NA"?            Or "N/A"?
19           A.     Yes.
20           Q.     Do you know if that meant on those days
21    December 1st through December 19th --
22           A.     No.
23           Q.     -- if the gabapentin was not available?
24           A.     No, I don't -- I don't do MRs, so . . .
25           Q.     You don't know one way or the other?


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 1           A.     No.
 2           Q.     Would I need to ask the nurses?
 3           A.     Yeah.    The nurses should know this.
 4           Q.     Doctor, I'm going to hand you what has
 5    previously been marked in a prior deposition as
 6    Exhibit 16.
 7                          MR. HATCHER:   And, Katherine, I'll
 8    represent to you that's Western Illinois 492.
 9                          MS. MELZER:    Thank you.
10    BY MR. HATCHER
11           Q.     Doctor, do you recognize the handwriting
12    on Plaintiff's Exhibit 16?
13           A.     Yes, sir.
14           Q.     And is that your handwriting?
15           A.     Yes, sir.
16           Q.     And that's for Mr. Buchanan?
17           A.     Yes, sir.
18           Q.     And the top, it reads, "M.D. note" in your
19    handwriting, correct?
20           A.     Yes.
21           Q.     Okay.    Can you tell me the date of this?
22           A.     1/13/18, 9:00 a.m.
23           Q.     And can you tell me -- before we go
24    through all of the entries, can you tell me just
25    generally what type of visit this was?


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 1           A.     What?
 2           Q.     I'm sorry?
 3           A.     I didn't understand the last sentence.
 4           Q.     What type of patient encounter was this if
 5    you can -- if you know generally?
 6           A.     This is a patient encounter between the
 7    doctor and the patient.
 8           Q.     Okay.   Can you tell me, based on looking
 9    at Plaintiff's Exhibit 16, what Mr. Buchanan's
10    complaints were on January 13, 2018?
11           A.     Sure.   My note says, "M.D. note."         S means
12    subjective.
13           Q.     Uh-huh.
14           A.     "I want a prostate check."
15           Q.     Okay.
16           A.     The examination says, "Vital signs normal.
17    200 weight -- 31 BMI" --
18           Q.     Okay.   Before we go on, I don't want to
19    ask too many questions about non-back complaints.
20    Are all of the notes on Plaintiff's Exhibit 16
21    related to Mr. Buchanan's prostate check request?
22           A.     Yes.
23           Q.     Are any entries in Plaintiff's Exhibit 16
24    related to complaints of pain or back pain?
25           A.     No.


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 1           Q.     Can you tell me -- so we have the
 2    subjective.      Is there an objective finding on here?
 3           A.     Yeah.   I mean, related to 2, it
 4    says -- one was about his weight because he was
 5    concerned about prostate cancer.
 6           Q.     Okay.
 7           A.     So I was trying to explain that weight is
 8    the main goal also, and he wanted a prostate exam,
 9    and that's what number 2 subjective -- I want a
10    prostate check on 15.        No complaints.
11                  So examination.     External rectal
12    examination, normal.        Bimanual.     Normal prostate.
13    Stool negative for occult blood.
14           Q.     And, Doctor, in your time -- the one or
15    one and a half days a week you spent at Menard, did
16    you ever make it to the gymnasium where inmates
17    would exercise or lift weights?
18           A.     No.
19           Q.     Are you aware of there being -- let me
20    start over.
21                  Do you know, one way or the other, if
22    inmates at Menard are allowed to exercise using free
23    weights?
24           A.     I never asked that, but I guess.          Every
25    prison has a gym, I thought, you know.


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 1           Q.     I understand they have a gym.         Do you know
 2    if they have weight machines where the weights are
 3    encapsulated within the machine, or do you know if
 4    they have racks with dumbbells and free weights?
 5           A.     I have no idea, sir.
 6                       MR. HATCHER:      Okay.    Sir, if you can
 7    indulge me for one second, I'm going to review my
 8    notes.
 9                  (Whereby a short break was taken.)
10                       MR. HATCHER:      Doctor, I think those
11    are all my questions.        Thank you.
12                       THE DEPONENT:      You're welcome.
13                       MS. MELZER:      I have no questions for
14    you, Doctor.
15                       THE DEPONENT:      Thank you very much.
16                       MS. MELZER:      Thank you very much for
17    your time.
18                       Off the record.
19                  (Whereupon there was a short discussion
20    off the record.)
21                       THE DEPONENT:      I waive.
22                       MS. MELZER:      He waives.
23
24                    (Deposition ended 1:50 p.m.)
25


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 1
 2                       CERTIFICATE OF REPORTER
 3                       I, Ann Marie Hollo, Certified
 4    Shorthand Reporter, Registered Diplomate Reporter
 5    and Certified Realtime Reporter, within and for the
 6    State of Illinois, do hereby certify that the
 7    witness whose testimony appears in the foregoing
 8    deposition was duly sworn by me; the testimony of
 9    said witness was taken by me to the best of my
10    ability and thereafter reduced to typewriting under
11    my direction; that I am neither counsel for, related
12    to, nor employed by any of the parties to the action
13    in which this deposition was taken, and further that
14    I am not a relative or employee of any attorney or
15    counsel employed by the parties thereto, nor
16    financially or otherwise interested in the outcome
17    of the action.
18
19
20    ______________________________
21    Certified Shorthand Reporter
      State of Illinois
22
23
24
25


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